       Case 1:13-cr-00512-ELH        Document 557        Filed 04/05/16     Page 1 of 7



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

   ANTHONY MILES,
       Plaintiff,
                                                       Criminal No. ELH-13-0512
       v.

   UNITED STATES OF AMERICA.
       Defendant.


                                      MEMORANDUM

       Anthony Miles, who is now self-represented, has submitted correspondence that I have

construed as a motion to vacate, set aside, or correct sentence, pursuant to 28 U.S.C. § 2255

(ECF 541, the “Petition”).1 He seeks relief under the Supreme Court’s recent decision in

Johnson v. United States, ____ U.S. ____, 135 S. Ct. 2551 (2015), claiming that one of his prior

felony offenses should not have been considered “a crime of violent [sic]” and can “no longer be

used for career offender enhancement.” ECF 541 at 1. The government has filed a response in

opposition to the Petition. See ECF 555 (“Opposition”). Mr. Miles has not replied.

       No hearing is necessary to resolve the Petition. For the reasons set forth below, I shall

deny the Petition.

                                         I. Background

       On September 24, 2013, an indictment was returned against defendant Anthony Miles

and thirteen others, on various drug related charges. See ECF 1. Mr. Miles was charged in

Count One with conspiracy to distribute and possess with intent to distribute 1 kilogram or more

       1
         Miles has also filed a Motion for Appointment of Counsel. ECF 552. By letter of
March 2, 2016, I wrote to Assistant Federal Public Defender Paresh Patel, enclosing Mr. Miles’s
request for a court-appointed attorney as to any Johnson issues. The government asserts that it
was advised by the Federal Public Defender’s Office that it will not represent Mr. Miles in this
case. See ECF 555 at 1.
       Case 1:13-cr-00512-ELH          Document 557        Filed 04/05/16      Page 2 of 7



of a mixture or substance containing a detectable amount of heroin, in violation of 21 U.S.C. §

846. He was also charged in Count Nine with distribution of heroin on or about August 4, 2013,

in violation of 21 U.S.C. § 841(a)(1). ECF 1 at 11.

       On September 30, 2014, Miles entered a plea of guilty to Count One (ECF 351), pursuant

to a Plea Agreement. ECF 352. Under the terms of the Plea Agreement, Miles was advised that

the offense to which he pled guilty carried a maximum term of life imprisonment and a

mandatory minimum term of ten years imprisonment. Id. ¶ 3; see 21 U.S.C. § 841(b)(1)(A).

Moreover, the plea was entered pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal

Procedure (id. at ¶ 9) by which the parties stipulated to a sentence of 120 months. See also id. ¶

10. That proposed sentence corresponded to the mandatory minimum term of imprisonment.

       Paragraph 6 of the Plea Agreement set forth the parties’ stipulations as to the sentencing

guidelines. In ¶ 6(a), the parties agreed that, as of that date, the defendant had a base offense

level of 32, under § 2D1.1(4) of the Sentencing Guidelines, which was based on the quantity of

at least one kilogram but less than three kilograms of heroin. However, in ¶ 6(d) of the Plea

Agreement, the parties anticipated the then impending changes to the Drug Quantity Table,

which went into effect in November 2014; it was agreed that at sentencing the defendant would

seek a two-level downward reduction based on the changes to the Sentencing Guidelines. The

parties further agreed that, if the Court granted that variance (which I did), defendant would not

seek a sentencing reduction under 18 U.S.C. § 3582(c)(2) based on the retroactive application of

the amendment to the Guidelines. Id. at 4.

       The parties made no agreement as to defendant’s criminal history. However, the parties

did not indicate in the Plea Agreement, or in the anticipated guideline calculations set out in ¶ 6,

that there was any expectation that the defendant would be found to be a career offender.



                                                 2
       Case 1:13-cr-00512-ELH         Document 557        Filed 04/05/16     Page 3 of 7



       The Presentence Report (“PSR”) was docketed on December 4, 2014. ECF 391. The

PSR reflected a base offense level that took into account the changes to the drug quantity table

that went into effect in November 2014. Thus, the offense would have had a base level of 30.

But, the PSR indicated that, as a result of two prior qualifying predicate offenses, Miles is a

career offender. ECF 391, ¶ 42. Therefore, his base offense level jumped from 30 to 37. After

three deductions for acceptance of responsibility, Miles’s final offense level was a 34. See id.

¶¶ 23, 24. If Miles were not a career offender, his final offense level would have been a 27.

And, because of the career offender finding, Mr. Miles’s criminal history category increased

from IV to VI.2

       The case proceeded to sentencing on March 20, 2015. See ECF 486. At sentencing, the

Court determined that Mr. Miles is a career offender within the meaning of U.S.S.G. § 4B1.1, on

the basis of a prior felony conviction for the offense of possession of CDS with an intent to

distribute (ECF 391, ¶¶ 31-32), and for the offense of possession of a firearm in furtherance of a

drug trafficking crime.    Id., ¶¶ 33-38.3   The advisory Sentencing Guidelines Range was

calculated at 262 to 327 months’ imprisonment. Nevertheless, the Court sentenced the defendant

in accordance with the terms of the C plea, i.e., to the agreed upon term of 120 months’

incarceration. ECF 489.


       2
         The Statement of Reasons (ECF 490) erroneously specifies a criminal history category
of IV, rather than VI. It is clearly a typographical error. ECF 490 correctly sets out the
guidelines range that corresponds to an offense level of 34 and a criminal history category of VI.
       3
          Mr. Miles’s conviction for possession of a firearm in furtherance of a drug trafficking
crime occurred in case RDB-04-0168. On May 17, 2005, Miles entered a plea of guilty in that
case and Judge Bennett sentenced him on June 1, 2005, to a term of 96 months imprisonment.
The defendant was released on March 2, 2012. Mr. Miles’s conviction in the case at hand
resulted in a violation of the terms of his supervised release in Case 04-0168-RDB. For the
violation of supervised release, Judge Bennett imposed a term of 30 months, to run concurrent
with the term imposed in ELH-13-0512. ECF 98.

                                                3
         Case 1:13-cr-00512-ELH          Document 557          Filed 04/05/16     Page 4 of 7



         Mr. Miles noted an appeal to the Fourth Circuit. See ECF 488. The Fourth Circuit

dismissed the appeal on August 20, 2015 (ECF 534), concluding that Mr. Miles’s waiver of

appellate rights precluded his appeal. The mandate issued on September 11, 2015. ECF 536.

                                              II. Discussion

                                                  A.

         Section 2255(a) of Title 28 of the United States Code provides relief to a prisoner in

federal custody only on specific grounds: that the sentence was imposed in violation of the

Constitution or laws of the United States; that the court was without jurisdiction to impose such a

sentence; that the sentence was in excess of the maximum authorized by law; or that the sentence

is otherwise subject to collateral attack.

         The scope of review of non-constitutional error is more limited than that of constitutional

error. A non-constitutional error provides a basis for collateral attack only when it involves ““a

fundamental defect which inherently results in a complete miscarriage of justice”” or is

“inconsistent with the rudimentary demands of fair procedure.” United States v. Mikalajunas,

186 F.3d 490, 496 (4th Cir. 1999); see United States v. Newbold, 791 F.3d 455, 459 (4th Cir.

2015).

         Under 28 U.S.C. § 2255(b), a hearing is required “[u]nless the motion and the files and

records conclusively show that the prisoner is entitled to no relief. . . .” See, e.g., United States v.

White, 366 F.3d 291, 302 (4th Cir. 2004). Courts have determined that a hearing is not necessary

where “the motion . . . fail[s] to allege sufficient facts or circumstances upon which the elements

of constitutionally deficient performance might properly be found [or] where the defendant has

failed to present any affidavits or other evidentiary support for the naked assertions contained in

his motion.” United States v. Taylor, 139 F.3d 924, 933 (D.C. Cir. 1998) (internal quotation



                                                   4
       Case 1:13-cr-00512-ELH          Document 557        Filed 04/05/16      Page 5 of 7



marks and citation omitted); accord United States v. McGill, 11 F.3d 223, 225-26 (1st Cir.

1993). On the other hand, a hearing is generally “required when a movant presents a colorable

Sixth Amendment claim showing disputed material facts and a credibility determination is

necessary to resolve this issue.” United States v. Robertson, 219 Fed. App’x 286, 286 (4th Cir.

2007); see also United States v. Ray, 547 Fed. App’x 343, 345 (4th Cir. 2013).

       In reviewing Miles’s Petition, the Court is mindful that a self-represented litigant is

generally “held to a ‘less stringent standard[ ]’ than is a lawyer, and the Court must liberally

construe his claims, no matter how ‘inartfully’ pled.” Morrison v. United States, RDB-12-3607,

2014 WL 979201, at *2 (D. Md. Mar. 12, 2014) (internal citations omitted); see also Erickson v.

Pardus, 551 U.S. 89, 94 (2007); Haines v. Kerner, 404 U.S. 519, 520 (1972) (stating that claims

of self-represented litigants are held “to less stringent standards than formal pleadings drafted by

lawyers”); Bala v. Commonwealth of Virginia Dep't of Conservation & Recreation, 532 F. App'x

332, 334 (4th Cir. 2013) (same). Nevertheless, in my view, no hearing is necessary to resolve

Miles’s claims.

                                                B.

       In his Petition, Mr. Miles argues that his prior conviction of possession of a firearm in

furtherance of a drug trafficking crime does not constitute a crime of violence under Johnson v.

United States, 135 S. Ct. 2551 (2015). Therefore, he complains that he should not have been

deemed a career offender.

       Notably, “a mistaken career offender designation is not cognizable on collateral review.”

Newbold, 791 F.3d at 459 (citing United States v. Foote, 784 F.3d 931, 932-33 (4th Cir. 2015)).

In contrast, a defendant may challenge on collateral review an alleged erroneous determination




                                                 5
       Case 1:13-cr-00512-ELH          Document 557        Filed 04/05/16      Page 6 of 7



that he qualifies as an armed career criminal and has thus “‘received a punishment that the law

cannot impose upon him.’” Newbold, 791 F.3d at 460 (citation omitted).

       To qualify as a career offender, the offense of conviction must be either a felony crime of

violence or a felony controlled substance offense; the defendant was at least eighteen years old

when he/she committed the offense; and the defendant must have “at least two prior felony

convictions of either a crime of violence or a controlled substance offense.”            U.S.S.G.

§ 4B1.1(a). Section 4B1.2(b) of the Guidelines defines “controlled substance offense.” It states:

       The term “controlled substance offense” means an offense under federal or state
       law, punishable by imprisonment for a term exceeding one year, that prohibits the
       manufacture, import, export, distribution, or dispensing of a controlled substance
       (or a counterfeit substance) or the possession of a controlled substance (or a
       counterfeit substance) with intent to manufacture, import, export, distribute, or
       dispense.

       Johnson invalidated the residual clause of the ACCA definition for “violent felony” as

unconstitutionally vague. Id. at 2558. As explained below, I need not determine whether

Johnson applies to the federal sentencing guidelines in the context of this case.

       The PSR indicates that Miles had two prior qualifying offenses for career offender status.

As a result, petitioner’s advisory sentencing guidelines range was 262-327 months’ of

incarceration.4 However, Miles was not sentenced pursuant to the enhanced guidelines range.

Rather, pursuant to the terms of the Rule 11(c)(1)(C) plea, petitioner was sentenced to 120

months’ imprisonment — the mandatory minimum.

       As indicated, the offense to which the defendant pled guilty carries a mandatory

minimum term of ten years imprisonment, i.e., 120 months. See 21 U.S.C. § 841(b). Thus, it is


       4
         If the defendant were not a career offender, he would have had a final offense level of
27 and a criminal history category of IV. This would have corresponded to guidelines of 100 to
125 months’ incarceration. Thus, the congressionally mandated minimum sentence of 120
months would have corresponded to a guidelines sentence.

                                                 6
       Case 1:13-cr-00512-ELH          Document 557        Filed 04/05/16     Page 7 of 7



clear that the Court’s finding of career offender status did not result in any additional period of

incarceration for Miles. Pursuant to the terms of the plea under Rule 11(c)(1)(C), the Court

imposed the mandatory minimum term of imprisonment set by Congress, which was well below

the advisory sentencing guidelines range.

       Therefore, the Supreme Court’s recent decision in Johnson is of no moment here.

Regardless of Mr. Miles’s career offender status, the Court was required to impose a sentence of

at least ten years.   The Court imposed the minimum possible sentence required by law.

Accordingly, Miles suffered no prejudice from the enhanced career offender guidelines.




Date: April 5, 2016                                                 /s/
                                                     Ellen L. Hollander
                                                     United States District Judge




                                                7
